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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

 CRYSTAL POTTER, individually and on                 :   Case No. 1:22-cv-06448
 behalf of a class of all persons and entities       :
 similarly situated,                                 :
                                                     :   Judge John Robert Blakey
         Plaintiff,                                  :
                                                     :
 v.                                                  :
                                                     :
 GOHEALTH, LLC                                       :
                                                     :
         Defendant.                                  :
                                                     :
                                                 /

      DEFENDANT GOHEALTH, LLC’S ANSWER AND AFFIRMATIVE DEFENSES

                                      Preliminary Statement

        1.      Telemarketing calls are intrusive. A great many people object to these calls,

which interfere with their lives, tie up their phone lines, and cause confusion and disruption on

phone records. Faced with growing public criticism of abusive telephone marketing practices,

Congress enacted the Telephone Consumer Protection Act of 1991. Pub. L. No. 102-243, 105

Stat. 2394 (1991) (codified at 47 U.S.C. § 227). As Congress explained, the law was a response to

Americans ‘outraged over the proliferation of intrusive, nuisance calls to their homes from

telemarketers’ id. § 2(6), and sought to strike a balance between ‘[i]ndividuals’ privacy rights,

public safety interests, and commercial freedoms’ id. § 2(9).

        ANSWER:        GoHealth admits that this paragraph purports to quote a portion of the

Congressional record concerning the TCPA. GoHealth denies that this paragraph accurately

characterizes the Congressional record or sets forth all relevant provisions of applicable law, and

otherwise denies the remaining allegations of this paragraph.
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        2.        “The law opted for a consumer-driven process that would allow objecting

individuals to prevent unwanted calls to their homes. The result of the telemarketing regulations

was the national Do-Not-Call registry. See 47 C.F.R. § 64.1200(c)(2). Within the federal

government’s web of indecipherable acronyms and byzantine programs, the Do-Not-Call registry

stands out as a model of clarity. It means what it says. If a person wishes to no longer receive

telephone solicitations, he can add his number to the list. The TCPA then restricts the

telephone solicitations that can be made to that number. See id.; 16 C.F.R. § 310.4(b)(iii)(B) (‘It is

an abusive telemarketing act or practice and a violation of this Rule for a telemarketer to ... initiat[e]

any outbound telephone call to a person when ... [t]hat person's telephone number is on the “do-

not-call” registry, maintained by the Commission.’). Private suits can seek either monetary or

injunctive relief. Id. This private cause of action is a straightforward provision designed to

achieve a straightforward result. Congress enacted the law to protect against invasions of

privacy that were harming people. The law empowers each person to protect his own personal

rights. Violations of the law are clear, as is the remedy. Put simply, the TCPA affords relief to those

persons who, despite efforts to avoid it, have suffered an intrusion upon their domestic peace.”

Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).

        ANSWER:          GoHealth admits that this paragraph purports to quote a portion of an

opinion from the case titled Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir.

2019). GoHealth denies that this paragraph accurately characterizes the cited authorities or sets

forth all relevant provisions of applicable law, and otherwise denies the remaining allegations of

this paragraph.

        3.        Crystal Potter ("Plaintiff' or “Ms. Potter”) brings this action to enforce the

consumer-privacy provisions of the TCPA alleging that GoHealth, LLC ("GoHealth") made


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telemarketing calls to numbers on the National Do Not Call Registry.

       ANSWER:         GoHealth admits that Potter’s Complaint purports to assert a cause of

action under the TCPA. GoHealth denies all other remaining allegations of this paragraph.

       4.      Because telemarketing calls can be made to thousands or even millions of

individuals, Plaintiff brings this action on behalf of proposed nationwide Class of other persons

who were sent similar calls.

       ANSWER:         GoHealth admits that Potter seeks to bring this action on behalf of herself

and a putative class. GoHealth denies that Potter can represent any such class, denies that any

such class can be certified, denies that Potter or the purported class has any valid claim, and

denies all remaining allegations of this paragraph.

       5.      A class action is the best means of obtaining redress for the Defendant' illegal

telemarketing and is consistent both with the private right of action afforded by the TCPA and the

fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

       ANSWER:         The allegations of this paragraph state legal conclusions, arguments, and

opinions to which no response is required. To the extent a response is required, GoHealth denies

that Potter or the purported class has any valid claim and denies all remaining allegations of this

paragraph.

                                                  Parties

       6.      Plaintiff Crystal Potter is a Kansas resident.

       ANSWER:         GoHealth lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of this paragraph.

       7.      Defendant GoHealth, LLC is a limited liability company registered to do business

in Illinois with its principal place of business at 214 West Huron St., Chicago, Illinois 60654,


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which is in this district.

        ANSWER:         GoHealth admits the allegations of this paragraph.

                                       Jurisdiction & Venue

        8.      The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because the

Plaintiff' claims arise under federal law.

        ANSWER:         GoHealth admits that Plaintiff’s claims arise under federal law. GoHealth

denies the remaining allegations of this paragraph.

        9.      The Court has personal jurisdiction over the Defendant because they contracted to

originate leads through telemarketing calls for GoHealth in this district.

        ANSWER:         GoHealth admits that this Court has personal jurisdiction over GoHealth.

GoHealth denies the remaining allegations of this paragraph.

        10.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because the telemarketing

campaign at issue was organized with GoHealth from this District and GoHealth has its principal

place of business in this District.

        ANSWER:         GoHealth admits that venue is proper in this district and that it maintains

its principal place of business in this district. GoHealth denies the remaining allegations of this

paragraph.

                             The Telephone Consumer Protection Act

        11.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing ... can

be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L. No.

102-243, § 2(5) (1991) (codified at47 U.S.C. § 227).

        ANSWER:         The allegations of this paragraph state legal conclusions, arguments, and


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opinions to which no response is required. To the extent a response is required, GoHealth denies

that this paragraph accurately characterizes the cited authorities or sets forth all relevant

provisions of applicable law and otherwise denies the allegations of this paragraph.

The National Do Not Call Registry

       12.     The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).

       ANSWER: The allegations of this paragraph state legal conclusions, arguments, and

opinions to which no response is required. To the extent a response is required, GoHealth admits

that consumers can register their telephone numbers on the National Do Not Call Registry but

denies that this paragraph accurately quotes or characterizes the cited authorities or sets forth all

relevant provisions of applicable law and otherwise denies the allegations of this paragraph.

       13.     A listing on the Registry “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.” Id.

       ANSWER:         The allegations of this paragraph state legal conclusions, arguments, and

opinions to which no response is required. To the extent a response is required, GoHealth denies

that this paragraph accurately quotes or characterizes the cited authorities or sets forth all

relevant provisions of applicable law and otherwise denies the allegations of this paragraph.

       14.     The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Registry and provides a private right of

action against any entity that makes those calls, or "on whose behalf' such calls are promoted. 47

U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

       ANSWER:         The allegations of this paragraph state legal conclusions, arguments, and


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opinions to which no response is required. To the extent a response is required, GoHealth denies

that this paragraph accurately quotes or characterizes the cited authorities or sets forth all

relevant provisions of applicable law and otherwise denies the allegations of this paragraph.

                                        Factual Allegations

        15.     GoHealth markets and sells health insurance products and services to consumers.

        ANSWER:         GoHealth admits that it provides a technology-driven healthcare

marketplace for insurance consumers, brokers, and carriers. GoHealth denies the remaining

allegations of this paragraph.

        16.     GoHealth uses telemarketing to promote its products and services and solicit new

customers.

        ANSWER:         GoHealth admits that it engages in lawful and TCPA-compliant outbound

dialing practices. GoHealth denies the remaining allegations of this paragraph.

Calls to Plaintiff


          17.   Ms. Potter is, and at all times mentioned herein was, a “person” as defined by 47

 U.S.C. § 153(39).

        ANSWER:         The allegations of this paragraph state a legal conclusion to which no

response is required.

        18.     Ms. Potter's telephone number, (702) 727-XXXX has been on the National Do

Not Call Registry since June 2008.

        ANSWER:         GoHealth lacks knowledge or information sufficient to admit or deny the

allegations of this paragraph.

        19.     This number is used for Ms. Potter's personal use.

        ANSWER:         GoHealth lacks knowledge or information sufficient to admit or deny the


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allegations of this paragraph.

       20.     The number is not associated with a business.

       ANSWER:         GoHealth lacks knowledge or information sufficient to admit or deny the

allegations of this paragraph.

       21.     However, Ms. Potter received multiple telemarketing calls promoting GoHealth’s

Medicare insurance products.

       ANSWER:         GoHealth admits that it placed calls to telephone number 702-727-XXXX

on August 15, 22 and 23 but denies that those calls constitute actionable TCPA violations.

GoHealth denies the remaining allegations of this paragraph.

       22.     These calls are believed to be made by GoHealth directly.

       ANSWER:         GoHealth admits that it placed calls to telephone number 702-727-XXXX

on August 15, 22 and 23 but denies that those calls constitute actionable TCPA violations.

GoHealth denies the remaining allegations of this paragraph.

       23.     The calls were made on August 15, 22 and 23, 2022.

       ANSWER:         GoHealth admits that it placed calls to telephone number 702-727-XXXX

on August 15, 22 and 23 but denies that those calls constitute actionable TCPA violations.

GoHealth denies the remaining allegations of this paragraph.

       24.     The Plaintiff received 8 calls from the Defendant on August 15, 3 on August 22

and 1 on August 23.

       ANSWER:         GoHealth admits that it placed calls to telephone number 702-727-XXXX

on August 15, 22 and 23 but denies that those calls constitute actionable TCPA violations.

GoHealth denies the remaining allegations of this paragraph.

       25.     The calls all came from the same Caller ID, 844-544-2028.


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       ANSWER:         GoHealth lacks knowledge or information sufficient to admit or deny the

allegations of this paragraph.

       26.     The Plaintiff answered one of the calls on August 15, 2022.

       ANSWER:         GoHealth denies the allegations of this paragraph.

       27.     During that call, GoHealth offered her health insurance.

       ANSWER:         GoHealth denies the allegations of this paragraph.

       28.     The health insurance was in the form of a Medicare Supplement.

       ANSWER:         GoHealth denies the allegations of this paragraph.

       29.     To secure the supplement, GoHealth required more information, including asking

Ms. Potter what her age was.

       ANSWER:         GoHealth denies the allegations of this paragraph.

       30.     Confirming that the calls were from the Defendant, a call back to that Caller ID

was “thank you for calling Go Medicare”.

       ANSWER:         GoHealth lacks knowledge or information sufficient to admit or deny the

allegations of this paragraph.

       31.     The website for Go Medicare, https://www.gomedicare.com/, is a website for

GoHealth.

       ANSWER:         GoHealth admits the allegations of this paragraph.

       32.     Indeed, that website states, “GoHealth helps Medicare beneficiaries enroll in

Medicare Advantage plans”, and indicates that GoHealth owns the website.

       ANSWER:         GoHealth admits the allegations of this paragraph.

       33.     The Plaintiff was not interested and asked the caller to no longer call her.

       ANSWER:         GoHealth denies the allegations of this paragraph.


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       34.     Despite this, the Plaintiff received the subsequent calls.

       ANSWER:         GoHealth admits that it placed calls to telephone number 702-727-XXXX

on August 15, 22 and 23 but denies that those calls constitute actionable TCPA violations.

GoHealth denies the remaining allegations of this paragraph.

       35.     This included calls on the following dates and times, from the indicated caller

identification numbers.

       ANSWER:         GoHealth admits that it placed calls to telephone number 702-727-XXXX

on August 15, 22 and 23 but denies that those calls constitute actionable TCPA violations.

GoHealth lacks knowledge or information sufficient to admit or deny the allegations of this

paragraph.

       36.     The class members were harmed by the conduct that invaded their privacy.

       ANSWER:         GoHealth denies the allegations of this paragraph.

                                     Class Action Allegations

       37.     As authorized by Rule 23(b)(2) and/or (b)(3) of the Federal Rules of Civil

Procedure, Plaintiff brings this action on behalf of Class of all other persons or entities similarly

situated throughout the United States.

       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid

claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.

       38.     The Class of persons Plaintiff propose to represent are tentatively defined as:

       National Do Not Call Registry Class: All persons in the United States whose (I)
       telephone numbers were on the National Do Not Call Registry for at least 31 days,
       (2) but who received more than one telemarketing calls from or on behalf of
       GoHealth (3) within a 12-month period, (4) from four years prior the filing of the
       Complaint.


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       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid

claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.

       39.     Excluded from the Class are the Defendant, and any entities in which the

Defendant have a controlling interest, the Defendant's agents and employees, any judge to whom

this action is assigned, and any member of such judge’s staff and immediate family.

       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid

claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.

       40.     The Class as defined above are identifiable through phone records and phone

number databases that will be obtained through discovery.

       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid

claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.

       41.     The potential class members number is likely hundreds since telemarketing

campaigns make calls to tens or hundreds of individuals each day. Individual joinder of these

persons is impracticable.

       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid

claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.

       42.     Plaintiff is a member of the Class.

       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid


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claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.

       43.      There are questions of law and fact common to Plaintiff and to the proposed Class,

including but not limited to the following:

         a.     Whether the calls were placed without obtaining the recipients' prior consent for

the call; and

         b.     Whether Plaintiff and the class members are entitled to statutory damages because

of the Defendant's actions.

       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid

claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.

       44.      Plaintiff’s claims are typical of the claims of class members. Plaintiff's claims,

like the claims of the Class, arise out of the same common course of conduct by the Defendant

and are based on the same legal and remedial theories.

       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid

claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.

       45.      Plaintiff is an adequate representative of the Class because her interests do not

conflict with the interests of the Class, she will fairly and adequately protect the interests of the

Class, and she is represented by counsel skilled and experienced in class actions, including

TCPA class actions.

       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid

claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.


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       46.     In fact, the Plaintiff has foregone a simpler path to recovery by filing this matter

as a putative class action, as opposed to an individual claim.

       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid

claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.

       47.     Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient

adjudication of the controversy. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by Defendant and/or its agents.

       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid

claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.

       48.     The likelihood that individual class members will prosecute separate actions is

remote due to the time and expense necessary to prosecute an individual case, and given the

small recoveries available through individual actions.

       ANSWER:         GoHealth denies that Potter can bring claims on a class basis, denies that

any classes can be certified, denies that Potter or the putative class members have any valid

claims or are entitled to any relief, and otherwise denies the allegations of this paragraph.

                                           Legal Claims

                            Telephone Consumer Protection Act
                                (Violations of 47 U.S.C. § 227)
             (On Behalf of Plaintiff and the National Do Not Call Registry Class)

       49.     Plaintiff repeats the prior allegations of this Complaint and incorporates them by

reference herein.

       ANSWER:         GoHealth incorporates its responses and answers to paragraphs 1-48 of the
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Complaint as if fully set forth herein.

       50.     The foregoing acts and omissions of Defendant and/or their affiliates, agents,

and/or other persons or entities acting on Defendant's behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making telemarketing calls, except for emergency

purposes, to the Plaintiff and the members of the Class despite their numbers being on the

National Do Not Call Registry.

       ANSWER:         GoHealth denies the allegations of this paragraph.

       51.     The Defendant's violations were negligent, willful, or knowing.

       ANSWER:         GoHealth denies the allegations of this paragraph.

       52.     As a result of Defendant's and/or its affiliates, agents, and/or other persons or

entities acting on Defendant's behalf violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

members of the Class presumptively are entitled to an award of between $500 and $1,500 in

damages for each and every call made.

       ANSWER:         GoHealth denies the allegations of this paragraph.

       53.     Plaintiff and members of the Class are also entitled to and do seek injunctive

relief prohibiting GoHealth from making telemarketing calls (whether directly or via agents) to

numbers on the National Do Not Call Registry, except for emergency purposes, in the future.

       ANSWER:         GoHealth denies the allegations of this paragraph.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

       A.      Certification of the proposed Class;

       B.      Appointment of Plaintiff as a representative of the Class;


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          C.     Appointment of the undersigned counsel as counsel for the Class;

          D.     A declaration that Defendant and/or its affiliates, agents, and/or other related

entities' actions complained of herein violate the TCPA;

          E.     An award to Plaintiff and the Class of damages, as allowed by law; and

          F.     Orders granting such other and further relief as the Court deems necessary,

just, and proper.

          G.     Plaintiff and members of the Class are also entitled to and do seek injunctive

relief prohibiting GoHealth from making telemarketing calls (whether directly of via agents)

to numbers on the National Do Not Call Registry, except for emergency purposes, in the

future.

          ANSWER:        GoHealth denies that Potter or putative class members are entitled to

any of the relief sought and denies the remaining allegations of this paragraph.

                                           JURY DEMAND

          GoHealth requests a jury trial as to all claims so triable.




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                                 AFFIRMATIVE DEFENSES

        GoHealth does not concede or waive the issue of which party bears the burden of proof as

to any of the following:

                                             Consent

        1.     Pleading affirmatively, GoHealth asserts that proper consent was obtained to

place the alleged telephone calls to Potter and putative class members.

                               Established Business Relationship

        2.     Pleading affirmatively, GoHealth asserts that it had an Established Business

Relationship (“EBR”) with Potter and/or putative class members as that term is defined under the

TCPA.

                                             Standing

        3.     Pleading affirmatively, GoHealth asserts that Potter and putative class members

are not within the zone of interests protected by the TCPA to the extent that the cellular phone

numbers allegedly called were listed and associated with commercial business ventures and to

the extent Potter and class members are not the owners of, or subscribers to, the telephone

numbers to which the alleged calls were placed.

                                       Statute of Limitations

        4.     Pleading affirmatively, GoHealth asserts that, to the extent Potter and putative

class members make claims for violations that occurred more than four years prior to the date of

the complaint, Potter’s and putative class members’ claims are barred by the applicable statutes

of limitations. 28 U.S.C. § 1658(a).




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                                       Reassigned Numbers

       5.       Pleading affirmatively, GoHealth asserts that, to the extent applicable, Potter’s

and putative class members’ claims are barred by rulings exempting calls to reassigned phone

numbers from TCPA liability.

                                       Improper Revocation

       6.       Pleading affirmatively, GoHealth asserts that Potter’s and putative class members’

claims are barred to the extent consent to receive any of the alleged calls at issue was improperly

revoked.

                                        Article III Standing

       7.       Pleading affirmatively, GoHealth asserts that Potter’s and putative class members’

interests were not violated by the alleged calls as they did not constitute the nuisance, invasion of

privacy, cost, and inconvenience from which Congress intended to protect consumers and,

accordingly, Potter and putative class members have not suffered concrete or particularized

injuries traceable to any action of GoHealth sufficient to satisfy Article III or statutory standing

requirements.

       8.       Pleading affirmatively, GoHealth asserts that Potter and/or putative class

members have no Article III standing for any calls that were blocked by call-blocking

technology, not answered or noticed, or otherwise not completed because such calls do not

constitute the nuisance, invasion of privacy, cost, and inconvenience from which Congress

intended to protect consumers. TransUnion LLC v. Ramirez, No. 20-297, 2021 U.S. LEXIS

3401 (June 25, 2021).




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                                       Substantial Compliance

        9.       Pleading affirmatively, GoHealth asserts that, at all relevant times, it acted in

good faith and in substantial compliance with the TCPA.

                            TCPA Regulations are Not Statutory Rules

        10.      To the extent Potter seeks to hold GoHealth liable for any violations of

regulations promulgated by the Federal Communications Commission, GoHealth asserts that the

Federal Communications Commission exceeded its authority in promulgating such regulations.

Pleading further, GoHealth asserts that the Federal Communications Commission’s orders

relating to the placement of calls to telephone numbers registered on the National Do Not Call

Registry are interpretive, rather than legislative, rules.

                       Inadequate Opportunity to Review Administrative Orders

        11.      GoHealth asserts that it did not have an adequate opportunity to seek review of

the Federal Communications Commission’s orders relating to the placement of calls to telephone

numbers registered on the National Do Not Call Registry.

                                           Indemnification

        12.      Pleading affirmatively, GoHealth asserts that, to the extent GoHealth could be

deemed to be liable for any damages, GoHealth is entitled to indemnification from one or more

third parties.

                                             Reservation

        13.      GoHealth does not yet have knowledge of all facts and evidence surrounding this

matter and, as a result, reserves its right to amend its Answer to raise additional affirmative

defenses as they are discovered.




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Dated: January 17, 2023                      Respectfully submitted,

                                             By: s/ Seth H. Corthell

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                                             Seth H. Corthell
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 17, 2023 a true and correct copy of the foregoing

was filed electronically using the Court’s CM/ECF system and served to all parties via email

through CM/ECF.



                                                    s/ Seth H. Corthell




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